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 7                                 UNITED STATES DISTRICT COURT
 8                                        DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,                           )
10                                                       )       Case No. 2:14-cr-0321-GMN-NJK
                            Plaintiff,                   )
11                                                       )       ORDER
     vs.                                                 )
12                                                       )       (Docket No. 117)
     KEITH WILLIAMS,                                     )
13                                                       )
                            Defendant.                   )
14                                                       )
15            Pending before the Court is Defendant’s motion to appoint new counsel. Docket No. 117. This
16 motion was mailed to the Court prior to the hearing conducted by the Court on November 12, 2015,
17 during which the Court addressed the issues raised in the instant motion with both Defendant and his
18 attorney. Docket No. 119. The motion to appoint new counsel, Docket No. 117, is therefore DENIED
19 as moot.
20            IT IS SO ORDERED.
21            DATED: November 16, 2015.
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                                                  ______________________________________
24                                                NANCY J. KOPPE
                                                  United States Magistrate Judge
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